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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF NEW YORK

                    AMENDED JUDGMENT IN A CIVIL CASE

DEMORE FULMORE,

            Plaintiff,

      vs.                               CASE NUMBER: 9:10-cv-1096 (GTS/)

EUGENE RAIMO,
JOHN SMITH and
JEREMY SAUNDERS,

            Defendants.


[X] Jury Verdict.          This action came before the Court for a trial by jury. The
                           issues have been tried and the jury has rendered its verdict.

[ ] Decision by Court.     This action came to trial or hearing before the Court. The
                           issues have been tried or heard and a decision has been
                           rendered.


IT IS ORDERED AND ADJUDGED that the jury having returned a verdict of no cause of
action as against Defendants Eugene Raimo, John Smith and Jeremy Saunders, all
claims against the Defendants are hereby dismissed, pursuant to the jury verdict
rendered on June 26, 2013 before the Honorable Judge Glenn T. Suddaby.


DATED:      July 8, 2013




                                               L. Welch, Deputy Clerk
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                                               NOTICE TO LITIGANTS

                                            FILING NOTICE OF APPEAL

This notice is to inform you of the time limitations for filing a Notice of Appeal under
Federal Rules of Appellate Procedure 4 (see below) and of the necessity of filing a
timely motion for extension with in the thirty-day extension period if the Notice of Appeal
is untimely.

                                                 Lawrence K. Baerman
                                                   Clerk of the Court

Effective 12/1/11:
Rule 4. Appeal as of Right - When Taken                                        (B)(i) If a party files a notice of appeal after
   (a) Appeal in a Civil Case                                     the court announces or enters a judgment - but before it
       (1) Time for Filing a Notice of Appeal.                    disposes of any motion listed in Rule 4(a)(4)(A) - the
          (A) In a civil case, except as provided in Rules        notice becomes effective to appeal a judgment or order,
4(a)(1)(B), 4(a)(4) and 4(c), the notice of appeal                in whole or in part, when the order disposing of the last
required by Rule 3 must be filed with the district clerk          such remaining motion is entered.
within 30 days after entry of the judgment or order                                (ii) A party intending to challenge an order
appealed from.                                                    disposing of any motion listed in Rule 4(a)(4)(A) or a
          (B) The notice of appeal may be filed by any            judgment’s alteration or amendment upon such a
party within 60 days after the entry of the judgment or           motion, must file a notice of appeal, or an amended
order appealed from if one of the parties is:                     notice of appeal - in compliance with Rule 3(c) - within
             (i) the United States;                               the time prescribed by this Rule measured from the
             (ii) a United States agency;                         entry of the order disposing of the last such remaining
             (iii) a United States officer or employee sued       motion.
in an official capacity; or                                                       (iii) No additional fee is required to file an
            (iv) a current or former United States officer or     amended notice.
employee sued in an individual capacity for an act or                      (5) Motion for Extension of Time
omission occurring in connection with duties performed                          (A) The district court may extend the time to
on the United States’ behalf - including all instances in         file a notice of appeal if:
which the United States represents that person when                                (i) a party so moves no later than 30 days
the judgment or order is entered or files the appeal for          after the time prescribed by this Rule 4 (a) expires; and
that person.                                                                       (ii) regardless of whether its motion is filed
          (C) An appeal from an order granting or denying         before or during the 30 days after the time prescribed
an application for writ of error coram nobis is an appeal         by this Rule 4 (a) expires, that party shows excusable
in a civil case for purposes of Rule 4(a).                        neglect or good cause.
       (2) Filing Before Entry of Judgment. A notice of                          (B) A motion filed before the expiration of
appeal filed after the court announces a decision or              the time prescribed in Rule 4 (a)(1) or (3) may be ex
order - but before the entry of the judgment or order - is        parte unless the court requires otherwise. If the motion
treated as filed on the date of and after the entry.              is filed after the expiration of the prescribed time, notice
       (3) Multiple Appeals. If one party timely files a          must be given to the other parties in accordance with
notice of appeal, any other party may file a notice of            local rules.
appeal within 14 days after the date when the first                              (C) No extension under this Rule 4 (a)(5)
notice was filed, or within the time otherwise prescribed         may exceed 30 days after the prescribed time or 14
by this Rule 4(a), whichever period ends later.                   days after the date when the order granting the motion
       (4) Effect of a Motion on a Notice of Appeal.              is entered, whichever is later.
          (A) If a party timely files in the district court any              (6) Reopening the Time to File an Appeal.
of the following motions under the Federal Rules of Civil         The district court may reopen the time to file an appeal
Procedure, the time to file an appeal runs for all parties        for a period of 14 days after the date when its order to
from the entry of the order disposing of the last such            reopen is entered, but only if all the following conditions
remaining motion:                                                 are satisfied:
             (i) for judgment under Rule 50(b);                                 (A) the court finds that the moving party did
             (ii) to amend or make additional factual             not receive notice under Federal Rule of Civil Procedure
findings under Rule 52(b), whether or not granting the            77(d) of the entry of the judgment or order sought to be
motion would alter the judgment;                                  appealed within 21 days after entry;
            (iii) for attorney’s fees under Rule 54 if the                       (B) the motion is filed within 180 days after
district court extends the time to appeal under Rule 58;          the judgment or order is entered or within 14 days after
            (iv) to alter or amend the judgment under Rule        the moving party receives notice under Federal Rule of
59;                                                               Civil Procedure 77(d) of the entry, whichever is earlier;
            (v) for a new trial under Rule 59; or                 and
            (vi) for relief under Rule 60 if the motion is                    (C) the court finds that no party would be
filed no later than 28 days after the judgment is entered.        prejudiced.
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          (7) Entry Defined.                                      of the motions referred to in Rule 4 (b)(3)(A).
             (A) A judgment or order is entered for                      (4) Motion for Extension of Time. Upon a finding
purposes of this Rule 4 (a):                                      of excusable neglect or good cause, the district court
               (i) if Federal Rule of Civil Procedure             may—before or after the time has expired, with or
58(a)(1) does not require a separate document, when               without motion and notice—extend the time to file a
the judgment or order is entered in the civil docket              notice of appeal for a period not to exceed 30 days from
under Federal Rule of Civil Procedure 79(a); or                   the expiration of the time otherwise prescribed by this
              (ii) if Federal Rule of Civil Procedure             Rule 4 (b).
58(a)(1) requires a separate document, when the                              (5) Jurisdiction. The filing of a notice of
judgment or order is entered in the civil docket under            appeal under this Rule 4 (b) does not divest a district
Federal Rule of Civil Procedure 79(a) and when the                court of jurisdiction to correct a sentence under Federal
earlier of these events occurs:                                   Rule of Criminal Procedure 35(a), nor does the filing of
                  • the judgment or order is set forth on a       a motion under 35(a) affect the validity of a notice of
separate document, or                                             appeal filed before entry of the order disposing of the
                  • 150 days have run from entry of the           motion. The filing of a motion under Federal Rule of
judgment or order in the civil docket under Federal Rule          Criminal Procedure 35(a) does not suspend the time for
of Civil Procedure 79(a).                                         filing a notice of appeal from a judgment of conviction.
             (B) A failure to set forth a judgment or order                  (6) Entry Defined. A judgment or order is
on a separate document when required by Federal Rule              entered for purposes of this Rule 4 (b) when it is
of Civil Procedure 58(a)(1) does not affect the validity of       entered on the criminal docket.
an appeal from that judgment or order.
                                                                    (c) Appeal by an Inmate Confined in an Institution.
   (b) Appeal in a Criminal Case.                                      (1) If an inmate confined in an institution files a
      (1) Time for Filing a Notice of Appeal.                     notice of appeal in either a civil or a criminal case, the
         (A) In a criminal case, a defendant’s notice of          notice is timely if it is deposited in the institution’s
appeal must be filed in the district court within 14 days         internal mail system on or before the last day for filing. If
after the later of:                                               an institution has a system designed for legal mail, the
            (i) the entry of either the judgment or the order     inmate must use that system to receive the benefit of
being appealed; or                                                this rule. Timely filing may be shown by a declaration in
            (ii) the filing of the government’s notice of         compliance with 28 U.S.C. § 1746 or by a notarized
appeal.                                                           statement, either of which must set forth the date of
          (B) When the government is entitled to appeal,          deposit and state that first-class postage has been
its notice of appeal must be filed in the district court          prepaid.
within 30 days after the later of:                                       (2) If an inmate files the first notice of appeal in a
              (i) the entry of the judgment or order being        civil case under this Rule 4 (c), the 14-day period
appealed; or                                                      provided in Rule 4 (a)(3) for another party to file a notice
              (ii) the filing of a notice of appeal by any        of appeal runs from the date when the district court
defendant.                                                        dockets the first notice.
       (2) Filing Before Entry of Judgment. A notice of                  (3) When a defendant in a criminal case files a
appeal filed after the court announces a decision,                notice of appeal under this Rule 4 (c), the 30-day period
sentence, or order—but before the entry of the                    for the government to file its notice of appeal runs from
judgment or order—is treated as filed on the date of and          the entry of the judgment or order appealed from or
after the entry.                                                  from the district court’s docketing of the defendant’s
       (3) Effect of a Motion on a Notice of Appeal.              notice of appeal, whichever is later.
          (A) If a defendant timely makes any of the
following motions under the Federal Rules of Criminal               (d) Mistaken Filing in the Court of Appeals. If a
Procedure, the notice of appeal from a judgment of                notice of appeal in either a civil or a criminal case is
conviction must be filed within 14 days after the entry of        mistakenly filed in the court of appeals, the clerk of that
the order disposing of the last such remaining motion,            court must note on the notice the date when it was
or within 14 days after the entry of the judgment of              received and send it to the district clerk. The notice is
conviction, whichever period ends later. This provision           then considered filed in the district court on the date so
applies to a timely motion:                                       noted.
               (i) for judgment of acquittal under Rule 29;
               (ii) for a new trial under Rule 33, but if based
on newly discovered evidence, only if the motion is
made no later than 14 days after the entry of the
judgment; or
               (iii) for arrest of judgment under Rule 34.
           (B) A notice of appeal filed after the court
announces a decision, sentence, or order—but before it
disposes of any of the motions referred to in Rule 4
(b)(3)(A)—becomes effective upon the later of the
following:
              (i) the entry of the order disposing of the last
such remaining motion; or
              (ii) the entry of the judgment of conviction.
          (C) A valid notice of appeal is effective—without
amendment—to appeal from an order disposing of any
